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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

    JOSEPH VELLALI et al.,

          Plaintiffs,                                      Civil Action No. 3:16-cv-01345-AWT
    v.
                                                           Hon. Alvin W. Thompson
    YALE UNIVERSITY et al.,

          Defendants.

PLAINTIFFS’ EMERGENCY MOTION FOR LEAVE FOR ADDITIONAL PAGES FOR
                  LOCAL RULE 56(a)(2) STATEMENT

         Plaintiffs respectfully request that the Court grant leave for Plaintiffs to file ten additional

pages in support of their Local Rule 56(a)(2) Statement.1

         A party opposing a motion for summary judgment filed in this District must serve a

statement of facts in opposition to summary judgment. This statement must contain (1)

responses to the moving party’s Local Rule 56(a)(1) Statement, which “shall be no longer than

twice the length of the moving party’s Local Rule 56(a)(1) Statement, absent leave of the Court

granted for good cause shown”; and (2) a separate section setting forth additional facts

establishing genuine issues of material fact precluding summary judgment, which “shall be no

longer than nine (9) double-spaced pages, absent leave of the Court granted for good cause

shown.” D. Conn. L. Civ. R. 56(a)(2). Defendants’ Local Rule 56(a)(1) Statement is 12 pages,

so the Rule provides a maximum of 33 pages for Plaintiffs’ response.

         In this circumstance, there is good cause for the Court to grant leave for Plaintiffs to file

an overlength Local Rule 56(a)(2) statement, for at least two reasons: (1) Defendants’


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 Defendants have indicated that they oppose Plaintiffs’ request. Plaintiffs have designated this
as an “emergency” motion pursuant to D. Conn. L. Civ. R. 7(a)(6) because the Local Rule
56(a)(2) Statement is to be filed on February 2, 2021, which does not allow for the standard 21
days for Defendants to file an opposition memorandum.
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memorandum in support of their motion for summary judgment contains numerous factual

assertions not supported by their Local Rule 56(a)(1) Statement, to which Plaintiffs need to

respond in their counterstatement; and (2) the complexity of the claims in this case, which

involves 22 investment options, a failure to adopt the lowest-cost share class for dozens of

investment funds, and a decade-long class period, call for additional pages to set forth and

describe disputed factual issues.

       First, Defendants have included factual assertions in their memorandum in support of

summary judgment that are not addressed in their Local Rule 56(a)(1) Statement to which

Plaintiffs must respond. As one example, Defendants’ memorandum contains a section

describing variable and fixed annuities that includes factually erroneous claims regarding the

natures of those investment products. See ECF No. 270 at 4-5 (“A fixed annuity offers

annuitants and their beneficiaries guaranteed returns and (at retirement) a guaranteed stream of

income. A variable annuity is similar, except the returns, and hence the value of the lifetime

income stream, vary with the performance of the underlying investments. . . . Either way, unlike

equities or mutual funds, with which an investor might outlive his or her savings, investors in

annuities receive guaranteed lifetime income.”). Defendants do not cite to their Local Rule

56(a)(1) Statement to support these factual claims, but if they had, their statement would have

been longer, and Plaintiffs would have had additional pages to respond. Plaintiffs must respond

to Defendants’ mischaracterizations and need extra pages to do so.

       Defendants also spend a significant portion of their memorandum arguing that Plaintiffs’

expert Wendy Dominguez used incorrect benchmarks. See ECF No. 270 at 24-25 (“Dominguez

compares apples and oranges.”); id. at 26-30 (“Plaintiffs’ ‘benchmark’ analysis is meritless.”).

These sections are replete with unsupported factual assertions that Plaintiffs must rebut in their



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Local Rule 56(a)(2) Statement. As with the statements identified above, had Defendants

provided a factual basis for these unsupported claims in their Local Rule 56(a)(1) Statement, the

Local Rules would have provided Plaintiffs more pages to respond. Thus, there is good cause for

the Court to grant Plaintiffs additional pages in their Local Rule 56(a)(2) Statement to address

Defendants’ factual assertions.

       Second, the nature of the claims in this ERISA case merit additional pages for Plaintiffs’

Local Rule 56(a)(2) Statement. Plaintiffs claim that Defendants breached their duty of prudence

and committed prohibited transactions by allowing the Plan to pay excessive recordkeeping fees,

by failing to remove 22 underperforming funds, and by failing to adopt the lowest cost share

class of dozens of funds. Plaintiffs seek damages that accrued over a class period of

approximately ten years. In a complex class action such as this, more comprehensive statements

of undisputed material facts will enable the Court to develop a better understanding of the

technical concepts that will determine this case’s outcome.

       For the foregoing reasons, Plaintiffs respectfully request that the Court grant leave for

Plaintiffs to file ten additional pages in support of their Local Rule 56(a)(2) Statement. 2




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  If the Court denies this motion, Plaintiffs respectfully request an additional three days (i.e.,
through February 5, 2021) to revise their Local Rule 56(a)(2) Statement to conform it to the
default 33-page limit.
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Dated: January 26, 2021                         Respectfully Submitted,
                                                /s/     Andrew D. Schlichter
                                                SCHLICHTER BOGARD & DENTON LLP
                                                Jerome J. Schlichter (phv01476)
                                                Heather Lea, (phv08416)
                                                Andrew D. Schlichter (phv09955)
                                                Sean E. Soyars (phv08419)
                                                Joel D. Rohlf (phv09849)
                                                Alexander L. Braitberg (phv09929)
                                                100 South Fourth Street, Suite 1200
                                                St. Louis, Missouri 63102
                                                (314) 621-6115, (314) 621-7151 (fax)
                                                jschlichter@uselaws.com
                                                hlea@uselaws.com
                                                aschlichter@uselaws.com
                                                ssoyars@uselaws.com
                                                jrohlf@uselaws.com
                                                abraitberg@uselaws.com

                                                Ari J. Hoffman (ct22516)
                                                Cohen and Wolf, P.C.
                                                1115 Broad Street
                                                Bridgeport, CT 06604
                                                Telephone: (203) 368-0211
                                                Facsimile: (203) 337-5505
                                                arihoffman@cohenandwolf.com

                                                Attorneys for Plaintiffs




                                CERTIFICATE OF SERVICE

       I certify that on January 26, 2021, a copy of the foregoing was filed electronically using
the Court’s CM/ECF system, which will provide notice of the filing to all counsel of record.

                                                     By: /s/ Andrew D. Schlichter




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